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     San Francisco CA 94131
3    415/ 239-4949
     (Fax 239-0156)
4    attyjmichel@gmail.com
5    Attorney for Plaintiff
     ALVARO JIMENEZ
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8                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
9                             OAKLAND COURTHOUSE
10   ALVARO JIMENEZ, an individual,               Case No. 4:17-cv-01624-KAW
11                Plaintiff,
12         v.                                     STIPULATION AND ORDER RE:
                                                  DISMISSAL
13   SLM PRIVATE EDUCATION
     STUDENT LOAN TRUST 2011-A;
14   LAW OFFICES OF HARRIS & ZIDE,
     a California Unincorporated
15   Association; and FLINT C. ZIDE,
     individually and in his official             Date :
16   capacity; and DOES 1 through 10,             Time:
     inclusive,                                   Loc’n: 1301 Clay St., Oakland CA
17                                                Judge: Kandis A. Westmore
                  Defendants.
18
     _________________________/
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20         The parties:
21         Plaintiff ALVARO JIMENEZ, by and through his attorney, James A. Michel,
22   Attorney at Law;
23         and Defendant SLM PRIVATE EDUCATION LOAN TRUST 2011-A, by and
24   through its attorneys, Jason Y. Wu and Foley & Lardner, LLP,
25          and Defendants, LAW OFFICES OF HARRIS & ZIDE and FLINT C. ZIDE by
26   and through their attorneys, Flint C. Zide and Law Offices of Harris & Zide;
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28   ///

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                          STIPULATION AND ORDER RE: DISMISSAL
       Case 4:17-cv-01624-KAW Document 40 Filed 07/30/19 Page 2 of 3


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2    hereby stipulate for an order dismissing this case with prejudice, following
3    settlement:
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7    DATED:        July 18      , 2019                /s/ Jason Y. Wu
                                                  Jason Y. Wu, SBN: 313368
8                                                 Foley & Lardner, LLP
                                                  Attorneys for Defendant
9                                                 SLM PRIVATE EDUCATION LOAN
                                                  TRUST 2011-A
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     DATED:        April 24     , 2019                /s/ Flint C. Zide
13                                                Flint C. Zide, SBN: 160369
                                                  Law Offices of Harris & Zide
14                                                Attorneys for Defendants
                                                  LAW OFFICES OF HARRIS & ZIDE
15                                                and FLINT C. ZIDE
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18   DATED: __April 25        , 2019                  /s/ James A. Michel
                                                  JAMES A. MICHEL
19                                                Attorney for Plaintiff
                                                  ALVARO JIMENEZ
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                        STIPULATION AND ORDER RE: DISMISSAL
       Case 4:17-cv-01624-KAW Document 40 Filed 07/30/19 Page 3 of 3


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2                           Attestation pursuant to L.R. 5-1(i)(3)
3          The undersigned attests that concurrence in the filing of this document has
     been obtained from each of the other Signatories, which shall serve in lieu of their
4    signatures on the document.
5
     DATED: July 18        , 2019                      /s/ James A. Michel
6                                                 JAMES A. MICHEL
                                                  Attorney for Plaintiff
7                                                 ALVARO JIMENEZ
8
                                                                      S DISTRICT
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           IT IS SO ORDERED.




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                                                                             ORDER




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     DATED: ________________
             July 30, 2019                                                         estmore




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                                                                            andis W
                                                                  Judge K




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13                                                HON. KANDIS           OF
                                                            D I S T IWESTMORE
                                                  United States    R CT
                                                                   Magistrate Judge
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                         STIPULATION AND ORDER RE: DISMISSAL
